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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

WSOU INVESTMENTS, LLC D/B/A BRAZOS
                                                   Civil Action No.: 6:20-cv-00812-ADA
LICENSING AND DEVELOPMENT,
                                                                     6:20-cv-00813-ADA
                                                                     6:20-cv-00814-ADA
              Plaintiff,
                                                                     6:20-cv-00815-ADA
                                                                     6:20-cv-00816-ADA
v.
                                                                     6:20-cv-00902-ADA
                                                                     6:20-cv-00903-ADA
JUNIPER NETWORKS, INC.
                                                   JURY TRIAL DEMANDED
              Defendant.

                       NOTICE OF WITHDRAWAL OF COUNSEL

       PLEASE TAKE NOTICE that Pushkal Mishra has departed Quinn Emanuel Urquhart &

Sullivan LLP (“Quinn Emanuel”) and no longer represents Juniper Networks, Inc. (“Juniper”) in

the above-captioned matter. B. Russell Horton of George Brothers Kincaid & Horton LLP and

Kevin P.B. Johnson, Todd Briggs, Nima Hefazi, Margaret Shyr, and Joseph E. Reed of Quinn

Emanuel continue to represent Juniper in the above-captioned matter.




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Dated: February 1, 2021          /s/ B. Russell Horton__________________________
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                                 Counsel for Defendant
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                                CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on February 1, 2021, all counsel of record who have appeared in this case are being served

with a copy of the foregoing via the Court’s CM/ECF system.

Dated: February 1, 2021                   /s/ B. Russell Horton__________________________
                                           B. Russell Horton




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